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                       IN THE UNITED STATE DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

OUYEINC LTD.,

                       Plaintiff,
                                                   Case No. ___________
       v.

INDIVIDUALS, PARTNERSHIPS, AND
UNINCORPORATED ASSOCIATIONS
ON SCHEDULE “A,”

                       Defendants.



                                          COMPLAINT

       Plaintiff, Ouyeinc Ltd. (“Plaintiff” or “Ouyeinc”), by and through its counsel, hereby

brings the present action against the partnerships and/or unincorporated associations identified

on Schedule A, attached hereto (named, “Defendants”), and alleges as follows:

                                    JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction to the provisions of the Lanham

Act, 15 U.S.C. § 1051, et seq., 28 U.S.C. § 1338(a)-(b) and 28 U.S.C. § 1331. This Court has

supplemental jurisdiction over the claims in this action that arise under the laws of the State of

Illinois pursuant to 28 U.S.C. § 1367(a), because the state law claims are so related to the federal

claims that they form part of the same case or controversy and derive from a common nucleus of

operative facts.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, as Defendants have

committed the acts as described herein within this judicial district.
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        3.      Upon information and belief, the Defendants are subject to this Court’s specific

and general jurisdiction due to at least their substantial business in the forum, this business

includes: (i) at least a portion of the acts complained; (ii) regularly conducting or soliciting

business, and/or deriving substantial revenue from goods and services provided to individuals in

Illinois and in this Judicial District; and (iii) directly targeting consumers in the United States,

including Illinois, by operating one or more commercial, interactive Defendant Internet Stores

through which Illinois residents can purchase products using infringing and counterfeit versions

of Plaintiff’s trademarks. Each of the Defendants has targeted sales from Illinois residents by

operating online stores that offer shipping to the United States, including Illinois, accept payment

in U.S. dollars and, on information and belief, has sold products using infringing and counterfeit

versions of Plaintiff’s trademarks to residents of Illinois. Each of the Defendants is committing

tortious acts in Illinois, is engaging in interstate commerce, and has wrongfully caused

substantial injury in the State of Illinois.



                                               PARTIES

        4.      Plaintiff, Ouyeinc Ltd., is a Colorado Corporation, with a principal place of

business at 36 South 18th Avenue, Suite A, Brighton, CO 80601.

        5.      Defendants are individuals and businesses who conduct business throughout the

United States, including within Illinois and in this Judicial District, through the operation of the

fully interactive commercial websites and online marketplaces identified in Schedule A, attached

hereto. Each Defendant targets the United States, including Illinois, and has offered to sell and/or

has sold and/or continues to sell counterfeit and infringing products to consumers within the

United States, including Illinois and in this Judicial District.



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       6.      While Defendants’ identities and locations are now unknown to Plaintiff, upon

information and belief, Defendants are primarily individuals and business entities who reside in

the People’s Republic of China or other foreign jurisdictions. Tactics used by Defendants to

conceal their identities and the full scope of their counterfeiting operation make it virtually

impossible for Plaintiff to learn Defendants’ true identities and the exact interworking of their

network. In the event that Defendants provide additional credible information regarding their

identities, Plaintiff will take appropriate steps to amend the Complaint.



                                         BACKGROUND

       7.      Plaintiff owns United States trademarks for its unique wax warmer products,

including U.S. trademarks No. 6,033,871, 6,033,730, and 6,033,750 for “Pro-Wax100”

(collectively the “Pro-Wax100 Marks”), as shown below.



  Registration Number                      Trademark                        Goods and Services

        6,033,871                        PRO-WAX100                    Electric warmers to melt
                                                                       scented       wax     tarts,
                                                                       electrical          heating
                                                                       apparatus to melt and
                                                                       dispense wax, heating
                                                                       installations, and wax
                                                                       heater in class 011


        6,033,730                                                      Electric warmers to melt
                                                                       depilatory wax; Electric
                                                                       warmers to melt scented
                                                                       wax tarts in class 011




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           6,033,750                                                 Electric warmers to melt
                                                                     scented wax tarts; Heat
                                                                     generators; Heating
                                                                     apparatus for solid, liquid
                                                                     or gaseous fuels; Heating
                                                                     installations in class 011




       8.       The above U.S. registrations are valid, subsisting, unrevoked and uncancelled.

The registration for the Pro-Wax100 Marks constitutes prima facie evidence of validity and of

Plaintiff’s exclusive right to use the Pro-Wax100 Marks pursuant to 15 U.S.C. § 1057(b).

       9.       The Plaintiff makes, sells and promotes wax warmers whose branding is protected

by the 6,033,871, 6,033,730, and 6,033,750 trademarks. These products include a number of

variations of wax warmers offered by the Plaintiff. These products are offered for sale and/or

sold in the United States, including in Illinois.

       10.      The Plaintiff’s Pro-Wax 100 wax warmer products have been commercially

successful with their distinctive and recognizable branding providing differentiation to other

competitors’ wax warmer brands providing consumers with an understanding of the products

quality.

       11.      The Pro-Wax100 Marks have been widely promoted, both in the United States

and throughout the world. Consumers, potential consumers and other members of the public

recognize that Pro-Wax100 Marks sold in the United States originate exclusively with Plaintiff.

       12.      Plaintiff maintains quality control standards for all products bearing the Pro-Wax

100 Marks. Genuine products bearing the Pro-Wax100 Marks are distributed exclusively through

Plaintiff’s online storefronts on Amazon. Sales of Plaintiff’s Pro-Wax100 products via Plaintiff’s




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stores represent the entirety of Plaintiff’s business. Plaintiff’s stores feature proprietary content,

images and designs exclusive to Plaintiff.

        13.     Plaintiff’s Pro-Wax 100 Marks are distinctive and largely popular worldwide

symbols of excellence in quality and are uniquely associated with Plaintiff and, thus, Plaintiff’s

Pro-Wax100 products have generated consistent substantial revenue since the Pro-Wax100

Marks’ first use in commerce.

        14.     Plaintiff’s Pro-Wax100 Marks have never been assigned or licensed to any of the

Defendants in this matter.

        15.     Plaintiff’s Pro-Wax100 Marks are a symbol of Plaintiff’s quality, reputation and

goodwill and have never been abandoned.

        16.     Plaintiff has committed and expended substantial time, money and other resources

developing, advertising and otherwise promoting products featuring the Pro-Wax100 Marks.

        17.     Upon information and belief, the Defendants offer counterfeit versions of the

Plaintiff’s Pro-Wax100 wax warmers in the United States and across the world. Upon

information and belief, the Defendants manufacture, or purchase from manufacturers, wax

warmers that use branding based on the Plaintiff’s registered trademarks.

        18.     As a result of Plaintiff’s substantial advertising and promotional efforts, as well as

the high quality of the products and services associated with the Pro-Wax100 Marks, the Plaintiff

has earned valuable and residual goodwill and reputation as the sole source for such goods and

services in the United States.

        19.     Upon information and belief, the Defendants have created and continue to create

numerous online stores (such as on AliExpress.com, Walmart.com, Dhgate.com, Alibaba.com

and Joom.com) and design them to appear to be selling genuine Pro-Wax100 products, while



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selling infringing and counterfeit versions of Plaintiff’s products. The online stores identified in

Schedule A appear to be related entities in some cases. Some stores share several distinct and

unique features such as using nearly identical store designs and using identical product pages,

including identical pictures and product descriptions. This establishes a logical relationship

between them suggesting that Defendants’ illegal operations arise out of the same transaction,

occurrence, or series of transactions or occurrences.

        20.      Defendants are individuals and business entities who, upon information and

belief, reside in the People’s Republic of China or other foreign jurisdictions. Defendants

conduct business throughout the United States, including within Illinois and in this Judicial

District, through the operation of the fully interactive commercial websites and online

marketplaces operating under the online stores. Each Defendant targets the United States,

including Illinois, and has offered to sell and, on information and belief, has sold and continues

to sell infringing and/or counterfeit Pro-Wax100 Marks-protected products, to consumers within

the United States, including Illinois and in this Judicial District.



                           DEFENDANT’S UNLAWFUL CONDUCT

        21.      The success of the Plaintiff’s Pro-Wax100 branding has resulted in its

counterfeiting and being infringed upon by a wide range of different marketplace stores. Plaintiff

has identified numerous marketplace stores which are offering for sale, selling, and importing

counterfeit and infringing Pro-Wax100 Marks-labeled products to consumers in this Judicial

District and throughout the United States. Defendants have persisted in creating subsequent

online Stores.




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       22.     Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their network of Defendant Internet Stores.

On information and belief, Defendants regularly create new online marketplace accounts on

various platforms using the identities listed in Schedule A to the Complaint, as well as other

unknown fictitious names and addresses. Such Defendant Internet Store registration patterns are

one of many common tactics used by the Defendants to conceal their identities, the full scope

and interworking of their counterfeiting and infringing operations, and to avoid being shut down.

       23.     Even though Defendants operate under multiple fictitious names, there are

numerous similarities among the Defendant Internet Stores. For example, infringing and

counterfeit Pro-Wax100 products for sale in the Defendant Internet Stores bear similar infringing

indicia to one another, suggesting that the infringing and counterfeit products were manufactured

by and come from a common source and that Defendants are interrelated. The Defendant Internet

Stores also include other notable common features, including use of the similar accepted

payment methods, check-out methods, meta data, illegitimate SEO tactics, lack of contact

information, identically or similarly priced items and volume sales discounts, the similar

incorrect grammar and misspellings, and the use of the similar text and images, including content

copied from legitimate Pro-Wax100 product listings.

       24.     In addition to operating under multiple fictitious names, Defendants in this case

and defendants in other online infringing cases use a variety of methods to evade enforcement

efforts including simply registering new online marketplace accounts once they receive notice of

a lawsuit, and operating multiple credit card merchant accounts to evade collection efforts by

Plaintiffs armed with enforceable judgments. Upon information and belief, Defendants maintain

off-shore bank accounts and regularly move funds from their online money accounts, in this case



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PayPal and other online money accounts, to off-shore bank accounts outside the jurisdiction of

this Court.

        25.       Defendants, without any authorization or license from Plaintiff, have knowingly

and willfully used and continue to use the Pro-Wax100 Marks in connection with the

advertisement, distribution, offering for sale, and sale of infringing and counterfeit Pro-Wax100

Marks-labeled products into the United States and Illinois over the Internet. Each Defendant

account shipped infringing and counterfeit products to the United States, including Illinois, and

has in fact sold or offered for sale the products during the course of Plaintiff’s preliminary

investigations.

        26.       Defendants’ use of the Pro-Wax100 Marks in connection with the advertising,

distribution, offering for sale, and sale of infringing and counterfeit Pro-Wax100 products,

including the sale of counterfeit and infringing products into Illinois, is likely to cause and has

caused confusion, mistake, and deception by and among consumers and is irreparably harming

Plaintiff.

        27.       The Defendants sell their Pro-Wax100 wax warmers with counterfeit TM730

branding in the United States and Illinois over the Internet. The infringing products offered by

the Defendants vary in color and minor design flourishes, but are all using counterfeit TM730

branding. Representative images of the infringing and counterfeit wax warming products are

provided below (represented by example):




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       28.     While the Defendants’ products all differ slightly in color and inconsequential

elements, they all feature the prominent Pro-Wax100 Marks.

       29.     Defendants produce infringing and counterfeit products featuring the Pro-Wax100

Marks. The example provided above clearly uses the TM730 owned by the Plaintiff.

       30.     Plaintiff has been damaged by the foregoing infringing, counterfeiting, and

wrongful acts of the Defendants, including, without limitation, suffering actual damages.

       31.     By manufacturing counterfeit Pro-Wax100 Marks-bearing wax warmers, the

Defendants willfully and knowingly caused a likelihood of confusion or misunderstanding as to,

inter alia, the sponsorship and approval of the Defendants’ products and services being offered

and sold by the Defendants in connection with the Pro-Wax100 Marks. Such wrongful conduct

also caused a likelihood of confusion or misunderstanding as to the affiliation, connection or

association of the Defendants’ product and services with those of the Plaintiff.

       32.     Defendants’ wrongful conduct, infringing activities, and sale of counterfeit

products will continue unless enjoined by this Court.

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                                      CLAIMS FOR RELIEF

                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)


       33.     Plaintiff re-alleges and incorporates by reference each and every allegation set

forth in the preceding paragraphs as if fully set forth herein.

       34.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the federally registered Plaintiff

Trademarks in connection with the sale, offering for sale, distribution, and/or advertising of

infringing goods. The Plaintiff Trademarks are highly distinctive marks. Consumers have come

to expect the highest quality from Plaintiff products offered, sold or marketed under the Plaintiff

Trademarks.

       35.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and

are still selling, offering to sell, marketing, distributing, and advertising products using

counterfeit reproductions of the Plaintiff Trademarks without Plaintiff’s permission.

       36.     Plaintiff is the exclusive owner of the Plaintiff Trademarks. Plaintiff’s United

States Registrations for the Plaintiff Trademarks (Exhibit 1) are in full force and effect. Upon

information and belief, Defendants have knowledge of Plaintiff’s rights in the Plaintiff

Trademarks, and are willfully infringing and intentionally using counterfeits of the Plaintiff

Trademarks. Defendants’ willful, intentional and unauthorized use of the Plaintiff Trademarks is

likely to cause and is causing confusion, mistake, and deception as to the origin and quality of

the Counterfeit Plaintiff Products among the general public.




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       37.     Defendants’ activities constitute willful trademark infringement and

counterfeiting under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       38.     Plaintiff has no adequate remedy at law, and if Defendants’ actions are not

enjoined, Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its

well-known Plaintiff Trademarks.

       39.     The injuries and damages sustained by Plaintiff have been directly and

proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion,

offering to sell, and sale of Counterfeit Plaintiff Products.



                                   COUNT II
                  FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))


       40.     Plaintiff re-alleges and incorporates by reference each and every allegation set

forth in the preceding paragraphs as if fully set forth herein.

       41.     Defendants’ promotion, marketing, offering for sale, and sale of Counterfeit

Plaintiff Products has created and is creating a likelihood of confusion, mistake, and deception

among the general public as to the affiliation, connection, or association with Plaintiff or the

origin, sponsorship, or approval of Defendants’ Counterfeit Plaintiff Products by Plaintiff. By

using the Plaintiff Trademarks on the Counterfeit Plaintiff Products, Defendants create a false

designation of origin and a misleading representation of fact as to the origin and sponsorship of

the Counterfeit Plaintiff Products.

       42.     Defendants’ false designation of origin and misrepresentation of fact as to the

origin and/or sponsorship of the Counterfeit Plaintiff Products to the general public involves the




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use of counterfeit marks and is a willful violation of Section 43 of the Lanham Act, 15 U.S.C. §

1125.

         43.   Plaintiff has no adequate remedy at law and, if Defendants’ actions are not

enjoined, Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its

brand.



                              COUNT III
 VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT (815
                           ILCS § 510, et seq.)

         44.   Plaintiff re-alleges and incorporates by reference each and every allegation set

forth in the preceding paragraphs as if fully set forth herein.

         45.   Defendants have engaged in acts violating Illinois law including, but not limited

to, passing off their infringing wax warmer products as those of Plaintiff, causing a likelihood of

confusion and/or misunderstanding as to the source of their goods, causing a likelihood of

confusion and/or misunderstanding as to an affiliation, connection, or association with genuine

Plaintiff’s products, representing that their products have Plaintiff’s approval when they do not,

and engaging in other conduct which creates a likelihood of confusion or misunderstanding

among the public.

         46.   The foregoing Defendants’ acts constitute a willful violation of the Illinois

Uniform Deceptive Trade Practices Act, 815 ILCS § 510/2, et seq.

         47.   Plaintiff has no adequate remedy at law, and Defendants’ conduct has caused

Plaintiff to suffer damage to its exclusivity to its rightfully Pro-Wax100 branding, reputation and

goodwill. Unless enjoined by the Court, Plaintiff will suffer future irreparable harm as a direct

result of Defendants’ unlawful activities.



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                                        PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

          1)       A judgment entered in favor of Plaintiff on its claim that Defendants have directly

and/or indirectly infringed, have violated the Illinois Uniform Deceptive Trade Practices Act,

sold counterfeit Pro-Wax100 Marks products, and sold products with false designations of

origin;

          2)       That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, though, under, or in active concert with them,

pursuant to 35 U.S.C. §283 be temporarily preliminarily, and permanently enjoined and

restrained from:

                   a.     using the Pro-Wax100 Marks, infringing and counterfeit copies, or

          colorable imitations thereof in any manner in connection with the distribution, marketing,

          advertising, offering for sale, or sale of any product that is not a genuine Pro-Wax100

          products, or are not authorized by Plaintiff to be sold in connection with the Pro-Wax100

          Marks;

                   b.     passing off, inducing, or enabling others to sell or pass off any product as

          a genuine Pro-Wax100 Marks product, or any other product produced by Plaintiff that is

          not Plaintiff’s or not produced under the authorization, control, or supervision of Plaintiff

          and approved by Plaintiff for sale featuring Pro-Wax100 Marks;

                   c.     committing any acts calculated to cause consumers to believe that

          Defendants’ Counterfeit Products are those sold under the authorization, control or




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       supervision of Plaintiffs, or are sponsored by, approved by, or otherwise connected with

       Plaintiffs

               d.     further infringing the Pro-Wax100 Marks and damaging Plaintiff’s

       goodwill;

               e.     otherwise competing unfairly with Plaintiff in any manner;

               f.     shipping, delivering, manufacturing, holding for sale, transferring or

       otherwise moving, storing, distributing, returning, or otherwise disposing of, in any

       manner, products or inventory not manufactured by or for Plaintiff, nor authorized by

       Plaintiff to be sold or offered for sale, and which utilize the Pro-Wax100 Marks, or any

       reproductions, infringing copies, counterfeit copies. or colorable imitations thereof;

               g.     using, linking to, transferring, selling, exercising control over, or

       otherwise owning the Online Marketplace Accounts or websites, or any other online

       marketplace account or website that is being used to sell or is the means by which

       Defendants could continue to sell infringing or counterfeit Pro-Wax100 Marks products;

       and

               h.     operating and/or hosting websites which are involved with the distribution,

       marketing, advertising, offering for sale, or sale products or inventory not authorized by

       Plaintiff which bear the Pro-Wax100 Marks;

       3)      That Defendants, within fourteen (14) days after service of judgment with notice

of entry thereof upon them, be required to file with the Court and serve upon Plaintiff a written

report under oath setting forth in detail the manner and form in which Defendants have complied

with paragraph 1, a through f, above;




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       4)      Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants

and those with notice of the injunction, including any online marketplaces and any related

entities, sponsored search engine or ad-word providers, credit cards, banks, merchant account

providers, third party processors and other payment processing service providers, Internet search

engines such as Google, Bing and Yahoo and domain name registrars, including, but not limited

to, GoDaddy, Name.com, PDR, and Namecheap, (collectively, the “Third Party Providers”) shall

:

               a. disable and cease providing services for any accounts through which

                   Defendants engage in the sale of infringing or counterfeit Pro-Wax100 Marks

                   products; and

               b. disable and cease displaying any advertisements used by or associated with

                   Defendants in connection with the sale of counterfeit Pro-Wax100 Marks

                   products;

               c. take all steps necessary to prevent links to the Defendant Online Stores

                   identified on Schedule A from displaying in search results, including, but not

                   limited to, removing links to the Defendant Online Stores from any search

                   index;

       5)      Entry of an Order that, upon Plaintiff’s request, any financial institutions,

payment processors, banks, escrow services, money transmitters, or marketplace platforms, and

their related companies and affiliates, identify and restrain all funds, up to and including the total

amount of judgment, in all financial accounts and/or sub-accounts used in connection with the

Seller IDs or other domain names, alias seller identification names, or e-commerce store names

or store URLs used by Defendants presently or in the future, as well as any other related



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accounts of the same customer(s) and any other accounts which transfer funds into the same

financial institution account(s), to be surrendered to Plaintiff in partial satisfaction of the

monetary judgment entered herein.

        6)      A judgment and order that Defendants make an accounting to Plaintiff and pay

over to Plaintiff:

                a. all profits realized by Defendants by reason of Defendants’ unlawful acts

                     herein alleged, and that the amount of damages for infringement of the Pro-

                     Wax100 Marks be increased by a sum not exceeding three times the amount

                     thereof as provided by 15 U.S.C. § 1117;

                b. in the alternative, damages for willful trademark counterfeiting pursuant to 15

                     U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of the Pro-Wax100

                     Marks;

                c. all damages suffered by Plaintiff in accordance with the law pursuant to 815

                     ILCS § 510(3) and other applicable laws; and

                d. for actual damages or other available damages pursuant to 17 U.S.C. § 504, at

                     the election of Plaintiff, in an amount to be determined at trial.

        7)      That this case, including Defendants prosecution of its claims, be declared

exceptional and Plaintiff be awarded its costs, expenses, and reasonable attorneys’ fees in this

action pursuant to 15 U.S.C. § 1117, 17 U.S.C. § 505, 815 ILCS § 510/3, and other applicable

law; and

        8)      Award any and all other relief that this Court deems just and proper.




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DATED June 15, 2020                         Respectfully submitted,

                                            OUYEINC LTD.


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